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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES -- GENERAL

Case No.      CV 18-3093-JFW(ASx)                                                Date: July 12, 2018

Title:        Lisa Kim -v- Tinder, Inc., et al.

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                 None Present
              Courtroom Deputy                               Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                    ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                 None

PROCEEDINGS (IN CHAMBERS):                 ORDER GRANTING DEFENDANTS’ MOTION TO
                                           COMPEL ARBITRATION [filed 6/11/18; Docket No. 24]

        On June 11, 2018, Defendants Tinder, Inc., Match Group, LLC, and Match Group, Inc.
(collectively, “Defendants”) filed a Motion to Compel Arbitration or Stay Under Colorado River
Abstention (“Motion to Compel Arbitration”). On June 25, 2018, Plaintiff Lisa Kim, individually on
behalf of herself and all others similarly situated, filed her Opposition. On July 2, 2018, Defendants
filed a Reply. Pursuant to Rule 78 of the Federal Rules of Civil Procedure and Local Rule 7-15, the
Court finds that this matter is appropriate for decision without oral argument. The hearing
calendared for July 16, 2018 is hereby vacated and the matter taken off calendar. After considering
the moving, opposing, and reply papers, and the arguments therein, the Court rules as follows:

        For the reasons stated in Defendants’ Motion to Compel Arbitration and Reply and because
Plaintiff failed to comply with paragraph 5(f) of the Court’s April 18, 2018 Standing Order,
Defendants’ Motion to Compel Arbitration is GRANTED. The Court signs and adopts, as modified,
Defendants’ proposed Statement of Decision, lodged with the Court on July 5, 2018.

         IT IS SO ORDERED.




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